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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-86-REB-2

UNITED STATES OF AMERICA,

        Plaintiff,

 v.



      2. BRAINARD CLARK,


        Defendant.
______________________________________________________________________

    DEFENDANT’S MOTION FOR FURLOUGH TO ATTEND GRANDMOTHERS’
       FUNERAL PURSUANT TO 28 C.F.R. § 551.109 AND 18 U.S.C. § 3142
 _____________________________________________________________________

        The Defendant, Brainard Clark, by and through CJA counsel, Peter Hedeen,

requests that the Court order Mr. Clark to be released on a temporary furlough,

specifically an escorted trip to attend the funeral of his Grandmother Miriam Scott from

1:00 p.m. to 3:00 p.m., with two hours before and after the funeral to allow for travel, on

Saturday, January 23, 2021, at the Angelus Funeral Home, 1104 S. Circle Drive,

Colorado Springs, or in the alternative, that the Court order that Mr. Clark be allowed to

attend the funeral virtually via live stream from the Douglas County Jail. In support

thereof, Mr. Clark states as follows:

        1.      Mr. Clark is currently being detained without bond by the United States

Marshals at the Douglas County Jail, 4000 Justice Way, Castle Rock, Colorado.

        2.      An indictment in the above captioned case was filed with the Court on

November 21, 2019 charging Mr. Clark with five counts of burglary in violation of 18 U.S.C.
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§ 2118 (b)(1) and 18 U.S.C. § 2. The case is currently set for a status conference on

January 21, 2021, but a Notice of Disposition has been filed.

       3.     On January 18, 2021, defense counsel was informed by Mr. Clark’s

mother that his grandmother, Ms. Miriam Scott, died in a car accident on January 14,

2021. Ms. Scotts’ funeral is set for 1:00 p.m. to 3:00 p.m., on Saturday, January 23,

2021, at the Angelus Funeral Home, 1104 S. Circle Drive, Colorado Springs.

       4.     Mr. Clark requests a furlough in order to attend his grandmothers’ funeral.

       5.     Pursuant to 18 U.S.C. § 3142(a)(2), this Court can order the Bureau of

Prisons to release Mr. Clark to attend the funeral of a relative. 28 C.F.R. § 551.109(b)

states that, in an emergency, a pretrial inmate’s attorney may petition the Court for a

release order or an escorted trip.

       6.     Mr. Clark is requesting an escorted trip, and pursuant to the United States

Marshal’s policy of requiring pretrial inmates to prepay all costs associated with an

escorted trip, Mr. Clark’s family is willing to post the necessary funds.

       7.     In the event that the Court denies Mr. Clark’s request for an escorted trip,

or if the United States Marshals are unable to facilitate an escorted trip ordered by this

Court, Mr. Clark would request that he be able to attend the funeral virtually via a live

stream broadcast that will be available from the funeral.

       8.     Undersigned counsel has conferred with Assistant United States Attorney

Jason St. Julien who opposes and objects to Mr. Clark’s request for an escorted trip, but

does not oppose the request for Mr.Clark to attend the funeral via live stream broadcast.




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       9.     Accordingly, pursuant to 28 C.F.R. § 551.109(b), as well as the authority

invested in this Court under 18 U.S.C. § 3142, Mr. Clark requests that the Court order

his release from custody for an escorted trip to attend the funeral of his Grandmother

Miriam Scott from 11:00 a.m. to 5:00 p.m., on Saturday, January 23, 2021, at the

Angelus Funeral Home, 1104 S. Circle Drive, Colorado Springs, or in the alternative,

that the Court order that Mr. Clark be allowed to attend the funeral virtually via live

stream broadcast from the Douglas County Jail.



Dated this Wednesday, January 20, 2021.

                                    __S/Peter Hedeen___
                                    Peter Hedeen
                                    2373 Central Park Blvd.
                                    Suite 100
                                    Denver, CO 80238
                                    720-979-0927
                                    303-803-1501 Fax




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                            CERTIFICATE OF MAILING

        I hereby certify that on Wednesday, January 20, 2021, I electronically filed the
foregoing with the Clerk of the Court using the court’s ECF system which will send
notification of such filing to all counsel of record and the following e-mail address:


Jason St. Julien, Assistant United States Attorney
jason.st.julien@usdoj.gov


And, I hereby certify that I have mailed or served the document or paper to the
following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by
the non-participant’s name:

Mr. Brainard Clark (via US Mail)


                                   __S/Peter Hedeen___
                                   Peter Hedeen
                                   2373 Central Park Blvd.
                                   Suite 100
                                   Denver, CO 80238
                                   720-979-0927
                                   303-803-1501 Fax




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